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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MARYLAND

        Chambers of                                                    101 West Lombard Street
GEORGE L. RUSSELL, III                                                Baltimore, Maryland 21201
 United States District Judge                                                410-962-4055


                                           May 3, 2019

MEMORANDUM TO COUNSEL RE:                     Anthony Dolphus, et al. v. Servis One, Inc. D/B/A
                                              BSI Financial Services
                                              Civil Action No. GLR-16-1075

Dear Counsel:

       Pending before the Court are Plaintiffs Christopher Smith, Paul Dickson, Reginald Smith,
Danielle Hannah, Gregory E. Sherrard, Ifedolapo Daramola, Paul A. McCarthy, Justin Meyer,
Cheryl Graham, Jacqueline Wyndham, Richard Adams, Laura Goodman, and Jacqueline
Dolphus’s Motion for Approval of Class Notice (ECF No. 83).1 Upon consideration of the
Motion and Plaintiff’s Proposed Class Action Notice of Lawsuit (“Plaintiffs’ Notice), as well as
Defendant Servis One, Inc. d/b/a BSI Financial Services’s (“Servis One”) Opposition and
Proposed Class Action Notice of Lawsuit (“Defendant’s Notice”), the Court will grant the
Motion and approve Plaintiffs’ Notice for mailing to putative class members.

        The Court concludes that Plaintiffs’ Notice comports with Federal Rule of Civil
Procedure 23(c)(2)(B) and the Court’s March 11, 2019 Order, (see ECF No. 78), and provides
fulsome information to potential class members regarding the claims and procedure involved in
this case. Accordingly, the Motion is GRANTED and Plaintiffs’ Notice is APPROVED for
mailing.2

        Within fourteen (14) days, Servis One shall produce to the third-party Administrator a list
containing the full name, last known residential address, and last known e-mail address of every
person who worked as an Asset Manager for Servis One from three (3) years prior to the filing of
the Complaint to the present. Within seven (7) days of receiving that list, the Administrator shall
distribute the Plaintiffs’ Notice to the people on the list. Any request for exclusion must be
submitted to the Administrator within thirty (30) days of the distribution of the Plaintiffs’ Notice.




        1
          On February 20, 2018, the Court granted Plaintiff Anthony Dolphus’s Motion for
Substitution of Party Plaintiff, allowing the substitution of Jacqueline Dolphus for Anthony
Dolphus, who died on April 11, 2017. (See ECF Nos. 38, 54).
        2
          The parties shall ensure the appropriate date is inserted in Plaintiffs’ Notice. (See Pls.’
Not. at 2, ECF No. 83-1).
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       Despite the informal nature of this Memorandum, it shall constitute an Order of the
Court, and the Clerk is directed to docket it accordingly.


                                         Very truly yours,

                                                   /s/
                                         George L. Russell, III
                                         United States District Judge




                                            2
